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                   UNITED STATES BANKRUPTCY COURT
    FOR THE EASTERN DISTRICT OF PENNSYLVANIA- PHILADELPHIA DIVISION

    In re:                                                          Bankruptcy No. 17-17504-amc
    Ida Mae Wolfe,
    Aka Ida Mae Bennett,                                            Chapter 13
    Aka Ida Mae Wolfe-Bennett,
           Debtor,

    NATIONSTAR MORTGAGE LLC D/B/A CHAMPION
    MORTGAGE COMPANY,
          Movant.
    v.
    Ida Mae Wolfe,
    Aka Ida Mae Bennett,
    Aka Ida Mae Wolfe-Bennett, and
    William Miller, Ch. 13 Trustee
          Respondents.

                                           ORDER OF COURT

           AND NOW, this                day of            , 2020, upon consideration of NATIONSTAR
   MORTGAGE LLC D/B/A CHAMPION MORTGAGE COMPANY’s Motion for Relief from
   Automatic Stay, pursuant to 11 U.S.C. § 362(d), any response thereto and that it is not necessary
   for an effective reorganization, it is hereby


           ORDERED, that the automatic stay provisions of Section 362 of the Bankruptcy Code
   are hereby unconditionally terminated with respect to NATIONSTAR MORTGAGE LLC D/B/A
   CHAMPION MORTGAGE COMPANY; and it is further


           ORDERED, that NATIONSTAR MORTGAGE LLC D/B/A CHAMPION MORTGAGE
   COMPANY be entitled to proceed with appropriate state court remedies against the property
   located at 316 W Earlham Terrace, Philadelphia, Pennsylvania 19144-3920, including without
   limitation a sheriff’s sale of the property, and it is further


           ORDERED that NATIONSTAR MORTGAGE LLC D/B/A CHAMPION MORTGAGE
   COMPANY shall provide notice of any surplus to the Trustee promptly after the property is
   disposed of.
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           xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
           ORDERED   that NATIONSTAR MORTGAGE LLC D/B/A CHAMPION MORTGAGE
    xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
    COMPANY’s   request to waive the 14-day stay period pursuant to Fed.R.Bankr.P. 4001(a)(3) is
     xxxxxx
    granted.
                                                            BY THE COURT

                                                            ______________________________
                                                            Judge Ashely M. Chan
                                                            U.S. Bankruptcy Court Judge




Date: October 1, 2020
